                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

In the Matter of:                                    )
                                                     )         Case No. 19-81991
In The Wind, LLC                                     )
 EIN: xx-xxx-5230                                    )         Chapter 11
                                                     )
Debtor                                               )

                                 APPLICATION TO EMPLOY ATTORNEY

      COMES NOW In the Wind, LLC ("Debtor"), Debtor in the above Chapter 11 case and requests
this Court for appointment of an attorney pursuant to 11 U.S.C. § 327, and as grounds for this
Application would show unto the Court as follows:
   1. Debtor filed a petition for relief under Chapter 11 of the Bankruptcy Code on June 21, 2019, as
      debtor-in-possession, and desires to employ the law firm of Collins Law Offices, P.C. (the "Law
      Firm") as its attorneys in this case.
   2. The members of the Law Firm are admitted to practice in this Court, have knowledge and
      experience in bankruptcy law practice, and are well qualified to represent the Debtor in this
      case.
   3. In the continuance of Debtor's business and the pending Chapter 11 case, it will be necessary
      for various professional legal services to be rendered for which it is necessary to retain
      attorneys. These services include:
          a. Preparing pleadings and applications and conducting examinations incidental to any
              related proceedings or to the administration of this case;
          b. Developing the relationship of the status of the Debtor to the claims of creditors in this
              case;
          c. Advising the Debtor of its rights, duties, and obligations as Debtor operating under
              Chapter 11 of the Bankruptcy Code;
          d. Taking any and all other necessary action incident to the proper preservation and
              administration of this Chapter 11 case; and
          e. Advising and assisting the Debtor in the formation and preservation of a plan pursuant
              to Chapter 11 of the Bankruptcy Code, the disclosure statement, and any and all matters
              related thereto.
   4. To the best of applicant's knowledge and as evidenced by the attached declaration, no member
      of the Law Firm holds or represents an interest adverse to this estate and all members are
      "disinterested" persons under the Bankruptcy Code.

     Case 19-81991-CRJ11         Doc 6    Filed 07/01/19 Entered 07/01/19 17:55:56      Desc Main
                                         Document      Page 1 of 4
   5. Applicant proposes to compensate the Law Firm for the services of its members according to
      their standard hourly rate as that rate may from time to time be adjusted during the pendency
      of this Chapter 11 case. The current rate for the bankruptcy partner that will be the Debtor's
      main contact is $250.00 per hour. The rate for associates charged by the Law Firm is currently
      $200.00 per hour. The rate for paralegals charged by the Law Firm is currently $55.00 to
      $75.00 per hour. All payments will be subject to approval and allowance by the Court.
   WHEREFORE, Applicant prays that it be authorized to obtain, appoint, and employ the Law Firm
as its attorneys to represent it in this case under the terms and conditions provided above.
      Dated July 1st, 2019.


                                                    IN THE WIND, LLC

                                                    /s/Michael Moore
                                                    Michael Moore, Sole/Managing Member


                                                    /s/Richard L. Collins
                                                    Richard L. Collins (ASB-8742-C66R)
                                                    Attorney for Debtor
                                                    P. O. Box 669
                                                    Cullman, AL 35056
                                                    (256) 739-1962




     Case 19-81991-CRJ11       Doc 6    Filed 07/01/19 Entered 07/01/19 17:55:56       Desc Main
                                       Document      Page 2 of 4
                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

In the Matter of:                                    )
                                                     )         Case No. 19-
In The Wind, LLC                                     )
 EIN: xx-xxX-5230                                    )         Chapter 11
                                                     )
Debtor                                               )

                                    ATTORNEY'S DECLARATION

      COMES NOW Richard L. Collins and in support of the application of the above Debtor for
employment of an attorney in this Chapter 11 states as follows:
   1. I am a member of the firm of Collins Law Offices, P.C. (the "Law Firm") and have been duly
      admitted to practice in this Court.
   2. To the best of my knowledge, each member of the Law Firm is a disinterested person in this
      case and no member represents or holds any interest adverse to the estate in the matters upon
      which the firm is to be engaged.
   3. To the best of my knowledge, no member of the Law Firm has any connection with the Debtor,
      its creditors, or any other party in interest or their respective attorneys including the U.S.
      Trustee or any employee of the Bankruptcy Administrator's Office in this District.
   4. The Law Firm has agreed to represent the Debtor in this Chapter 11 case upon the terms and
      conditions set forth in the Debtor's Application.
   5. The Law Firm has not agreed to split or share any compensation received in this matter with
      any other person or entity.
   Dated July 1st, 2019.

                                                    /s/Richard L. Collins
                                                    Richard L. Collins (ASB-8742-C66R)
                                                    Attorney for Debtor
                                                    P. O. Box 669
                                                    Cullman, AL 35056
                                                    (256) 739-1962

      SWORN TO AND SUBSCRIBED BEFORE ME ON July 1st, 2019.
      /s/Dettrina Peinhardt
      NOTARY PUBLIC
      My Commission Expires 5/13/2023




     Case 19-81991-CRJ11       Doc 6    Filed 07/01/19 Entered 07/01/19 17:55:56         Desc Main
                                       Document      Page 3 of 4
                                    CERTIFICATE OF SERVICE

       This is to certify that on the 1st day of July, 2019 a copy of this pleading was served by placing a
copy of the same in the U. S. Mail with postage prepaid and correctly addressed to the following:

Richard Blythe
Bankruptcy Administrator
P. O. Box 3045
Decatur, AL 35602

20 Largest Unsecured Creditors

All parties requesting notice


                                                 /s/ Richard L. Collins
                                                 Richard L. Collins




     Case 19-81991-CRJ11        Doc 6    Filed 07/01/19 Entered 07/01/19 17:55:56         Desc Main
                                        Document      Page 4 of 4
